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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

  ____________________________________________
                                                                        )
  In re:                                                                )
                                                                        )   PROMESA
  THE FINANCIAL OVERSIGHT AND                                           )   Title III
  MANAGEMENT BOARD FOR PUERTO RICO,                                     )
                                                                        )   Case No. 3:17-bk-03283 (LTS)
                       as representative of                             )
                                                                        )
  THE COMMONWEALTH OF PUERTO RICO, et al.,
                                                                        )
                       Debtors.                                         )
                                                                        )
  ____________________________________________ X
                                                                        )
  In re:                                                                )
                                                                        )
  THE FINANCIAL OVERSIGHT AND                                           )   PROMESA
  MANAGEMENT BOARD FOR PUERTO RICO                                      )   Title III
                                                                        )
                                                                            Case No. 3:17-bk-03566 (LTS)
                        as representative of                            )
                                                                        )
  THE EMPLOYEES RETIREMENT SYSTEM OF THE )
  GOVERNMENT OF THE COMMONWEALTH OF                                     )
  PUERTO RICO,                                                          )
                                                                        )
                       Debtor.                                          )
                                                                        )
  --------------------------------------------------------------------- x



                                          AFFIDAVIT OF SERVICE

  STATE OF OHIO      )
                     ) SS:
  COUNTY OF CUYAHOGA )

           Monika T. Barrios, being duly sworn, deposes and says:

               1. I am employed by Jones Day, North Point, 901 Lakeside Avenue, Cleveland,

  Ohio 44114-1190, I am over eighteen years of age, and am not a party to the above-captioned

  cases.


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               2. On June 15, 2021, I caused a copy of the following to be served:

                          Statement and Reservation of Rights Regarding Disclosure Statement for
                           the Third Amended Title III Joint Plan of Adjustment of the
                           Commonwealth of Puerto Rico, Et Al. (the "Reservation of Rights") [Case
                           No. 17-03283, Docket No. 17002 and Case No. 17-03566, Docket No.
                           1162;
  via the Court's electronic case filing and noticing system, and by e-mail upon the parties listed on

  the service list attached hereto as Exhibit A.

               3. On June 16, 2021, employees of Jones Day caused the Reservation of Rights to be

  served via U.S. First Class Mail upon the parties listed on the service list, attached hereto as

  Exhibit B.

               4. On June 21, 2021, I caused a copy of the following to be served:

                          Notice of Withdrawal of Appearance and Request to Cease Service of
                           Notices, Orders, Pleadings and Documents (the "Notice of Withdrawal")
                           [Case No. 17-03283, Docket No. 17126 and Case No. 17-03566, Docket
                           No. 1165;
  via the Court's electronic case filing and noticing system, and by e-mail upon the parties listed on

  the service list attached hereto as Exhibit A.

               5. On June 22, 2021, employees of Jones Day caused the Notice of Withdrawal to be

  served via U.S. First Class Mail upon the parties listed on the service list, attached hereto as

  Exhibit B.




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  Dated: June 22, 2021
                                             /s/ Monika T. Barrios
                                             Monika T. Barrios


  Sworn to before me on this
  22nd day of June, 2021

  /s/ Cynthia M. Machesky
  Cynthia M. Machesky, Notary Public
  Notary Public, State of Ohio
  Qualified in Cuyahoga County
  Commission Expires December 25, 2024




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                                      Exhibit A
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                                              Exhibit B


  United States District Court                      Hon. Judith G. Dein
  Southern District of New York                     United States District Court
  Chambers of Honorable Laura Taylor Swain          District of Massachusetts
  Daniel Patrick Moynihan                           John Joseph Moakley U.S. Courthouse
  United States Courthouse                          1 Courthouse Way, Suite 6420
  500 Pearl St., Suite No. 3212                     Boston, MA 02210
  New York, New York 10007-1312
    AmeriCorps                                      Antilles Power Depot, Inc.
    Attn: Sonali Nijhawan                           Attn: Raymond Texidor
    1201 New York Ave., NW                          PO Box 81090
    Washington, DC 20525                            Carolina, PR 00981-0190
    Office of the United States Trustee             Integrand Assurance Company
    for Region 21                                   PO Box 70128
    Attn: Monsita Lecaroz Arribas, Maria D.         San Juan, PR 00936-8128
    Giannirakis & Nancy J. Gargula
    Edificio Ochoa
    500 Tanca Street, Suite 301
    San Juan, PR 00901-1922
    Department of Defense (DOD)                     Departamento de Justicia de Puerto Rico
    Attn: Lloyd J. Austin III                       Apartado 9020192
    1400 Defense Pentagon                           San Juan, PR 00902-0192
    Washington, DC 20301-1400
    Department of Homeland Security (DHS)           Department of Energy (DOE)
    Attn: Alejandro Mayorkas                        Attn: Jennifer M. Granholm
    Secretary of Homeland Security                  1000 Independence Ave., SW
    Washington, DC 20528-0075                       Washington, DC 20585
    Department of Human and Health Services         Department of Housing and
    Attn: Xavier Becerra                             Urban Development (HUD)
    200 Independence Ave, SW                        Attn: Marcia L. Fudge
    Washington, DC 20201                            451 7th Street, SW
                                                    Washington, DC 20410
    Department of Transportation (DOT)              Department of the Interior (DOI)
    Attn: Pete Buttigieg                            Attn: Deb Haaland
    1200 New Jersey Ave., SE                        1849 C St., NW
    Washington, DC 20590                            Washington, DC 20240




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    Kanoso Auto Sales Inc.                            Department of Veterans Affairs (VA)
    Attn: Jose A. Crespo Gonzalez, President          Attn: Denis Richard McDonough
    PO Box 1446                                       810 Vermont Ave., NW
    San German, PR 00683                              Washington, DC 20420

    Federal Emergency Management Agency               Jaime Rodríguez Avilés
    (FEMA)                                            128 Apartamento
    Attn: Deanne Criswell                             201 Edificio Bernardo Torres
    500 C St., SW                                     Sector La Trocha
    Washington, DC 20472                              Yauco, PR 00698
    Small Business Administration (SBA)               Federal Communications Commission (FCC)
    Attn: Dilawar Syed                                Attn: Jessica Rosenworcel
    409 3rd St., SW                                   45 L Street NE
    Washington, DC 20416                              Washington, DC 20554
   The Commonwealth of Puerto Rico                    US Army Corps of Engineers
   Office of the Governor                             Attn: Scott A. Spellmon
   La Fortaleza                                       441 G St., NW
   63 Calle Fortaleza                                 Washington, DC 20548
   San Juan, PR 00901
    U.S. Attorney for the District of Puerto Rico     U.S. Department of Agriculture
    Attn: Rosa E. Rodriguez-Velez,                    Attn: Thomas J. Vilsack
          U.S. Attorney                               1400 Independence Ave., SW
    Torre Chardón, Suite 1201                         Washington, DC 20250
    350 Carlos Chardón Street
    San Juan, PR 00918
    U.S. Department of Commerce                       U.S. Department of Education (ED)
    Attn: Gina M. Raimondo                            Attn: Miguel Cardona
    1401 Constitution Ave., NW                        400 Maryland Ave., SW
    Washington, DC 20230                              Washington, DC 20202
    US Department of Justice (DOJ)                    The American Federation of Teachers (AFT)
    Attn: Merrick Garland                             Attn: Mark Richard
    950 Pennsylvania Ave., NW                         555 New Jersey Ave., N.W., 11th Floor
    Washington, DC 20210                              Washington, DC 20001
    U.S. Department of Labor (DOL)                    Counsel to PFZ Properties, Inc.
    Attn: Martin J. Walsh                             Jack Katz
    200 Constitution Ave.                             ESJ Towers
    Washington, DC 20210                              6165 Isla Verde Ave.
                                                      Carolina, PR 00979-5729
    Metro Pavia Health System                         Reliable Equipment Corporation
    Attn: Zarel J. Soto Abaca                         Attn: Marylin Del Valle, General Manager
    PO Box 3180                                       PO Box 2316
    Carolina, PR 00984                                Toa Baja, PR 00951-2316



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    Unitech Engineering                           Unión de Médicos de la Corporación
    Attn: Ramon Ortiz Carro                       del Fondo del Seguro del Estado
    Urb Sabanera                                  PO Box 70344, CMM33
    40 Camino de la Cascada                       San Juan, PR 00936-8344
    Cidra, PR 00739
    Puerto Rico Electric Power Authority          Pablo Del Valle Rivera
    Attn: Office of the General Counsel           Counsel for Pablo Del Valle Rivera and
    PO Box 364267                                 Maria A. Matinez, Tenants in Common
    San Juan, PR 00936-4267                       PO Box 2319
                                                  Toa Baja, PR 00951
    Alan Friedman                                 Marichal, Hernandez, Santiago & Juarbe, LLC
    124 Lander Ave.                               Attn: Rafael M. Santiago-Rosa, Esq.
    Staten Island, NY 10314                              Vanessa Medina-Romero, Esq.
                                                  Triple S Plaza, 1510 F.D. Roosevelt Ave.
                                                  9th Floor, Suite 9 B1
                                                  Guaynabo, PR 00968
   Liberty Cablevision of Puerto Rico, LLC        SOMOS, Inc.
   Attn: Alexandra Verdiales                      1605 Ponce De Leon Avenue
   PO Box 192296                                  Suite 300, San Martin Bldg.
   San Juan, PR 00919-2296                        San Juan, PR 00909
   Reinaldo Vincenty Perez                        Cohen, Weiss and Simon LLP
   917 Calle Isaura Arnau                         Attn: Hiram M. Arnaud
   San Juan PR 00924                              900 Third Ave
                                                  21st Floor
                                                  New York, NY 10022
    Reichard & Escalera, LLC                      Secretary of Justice, Hon. Domingo
    Attn: Rafael Escalera Rodriguez, Sylvia M.    Emmanuelli-Hernandez
    Arizmendi, Alana Vizcarrondo-Santana,         Hon. Pedro R. Pierluisi-Urrutia
    Fernando Van Derdys, Carlos R. Rivera-Ortiz   Calle Olimpo, Esq. Axtmayer
    255 Ponce de Leon Avenue                      Pda. 11 Miramar
    MCS Plaza, 10th Floor                         San Juan, PR 00907
    San Juan PR 00917-1913
   G RG Engineering S E                           Muniz Burgos Contractors, Corp.
   Attn: President or General Counsel             Attn: President or General Counsel
   Urb. Belisa 1515 Calle Bori                    Condominio Parque De Las Fuentes PH204
   San Juan, PR 00927                             680 Calle Cesar Gonzalez
                                                  San Juan, PR 00918-3912
    Correction Corporation of America             McNamee Lochner P.C.
    Attn: President or General Counsel            Attn: General Counsel
    10 Burton Hills Boulevard                     20 Corporate Woods Blvd., Ste 4
    Nashville, TN 37215                           Albany, NY 12211-2396




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    Puerto Rico Industrial Development Company        Quintero Construction S E
    Attn: Gabriel Maldonado                           Attn: President or General Counsel
    PO Box 362350                                     Carr 734 Km 0.5 Bo Arenas
    San Juan, PR 00936-2350                           Cidra, PR 00739
    Bank of New York Mellon                           Popular Fiduciary Services
    225 Fifth Ave                                     Popular Center North Building
    Suite 1200                                        #209 Munoz Rivera, Ave
    Pittsburgh, PA 15222                              2nd Level
                                                      Hato Rey, PR 00918
    Cooperativa De A/C Aibonitena                     Candlewood Investment Group, LP
    100 Calle Jose C. Vazquez                         555 Theodore Fremd Avenue
    Aibonito, PR 00705                                Suite C-303
                                                      Rye, NY 10580
    Fir Tree Partners                                 Cooperativa De Ahorro Y Credito De Lares
    55 West 46th Street                               Attn: Enrique M. Almeida Bernal, Esq.
    29th Floor                                        PO Box 19757
    New York, NY 10036                                San Juan, PR 00919
    Jaime B. Fuster Estate, Comprised By Maria        Goldentree Asset Management LP
    J. Zalduondo Viera and Jaime and Maria L.         300 Park Avenue, 20th Floor
    Fuster Zalduondo                                  New York, NY 10022
    PO Box 363101
    San Juan, PR 00936
   Santander Asset Management, LLC                    Oppenheimerfunds Inc.
   GAM Tower                                          350 Linden Oaks
   2nd Floor                                          Rochester, NY 14625
   2 Tabonuco Street
   Guaynabo, PR 06968
   United States District Court for the District of   Sucesion Francisco Xavier Gonzalez Goenaga
   Puerto Rico                                        PO Box 364643
   Chambers of Honorable Laura Taylor Swain           San Juan, PR 00936
   Deniel Patrick Moynihan Courthouse
   United States District Court
   500 Pearl St., Suite 3212
   New York, NY 10007-1312
    N. Harris Computer Corporation                     Banco Popular de Puerto Rico,
    Attn: President or General Counsel                 as Trustee
    10 Quannapowitt                                    Popular Fiduciary Services, Popular Center
    Parkway Suite 405                                  North Building
    Wakefield, MA 01880                                #209 Munoz Rivera Ave., 2nd Level
                                                       Hato Rey, PR 00918




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   Bank of New York Mellon as PRIFA                    Governing Board of the Puerto Rico Electric
   Indenture Trustee                                   Power Authority
   Pursuant to the Trust Agreement Dated as of         Attn: ralph A. Kreil-Rivera, President
   March 1, 2105                                       1110 Ponce de Leon Ave.
   225 Fifth Avenue                                    San Juan, PR 00907
   Suite 1200
   Pittsburgh, PA 15222
   A Select Drawdown Fund L.P.                         LUMA Energy ServCo, LLC
   250 West 55th Street                                Wayne Stensby as Chief Executive Director
   New York, NY 10019                                  644 Fernandez Juncos Avenue
                                                       Suite 301
                                                       San Juan PR 00907
   Ismael Vincenty Perez
   Apt. 6105 350 Via Aventura
   Trujillo Alto, PR 00976




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